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DOCKET NO. 810 CLERK OF TRE Pale

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE BURGER KING CORP./MID AMERICA RESTAURANT ASSOCIATES CONTRACT
LITIGATION

TRANSFER ORDER*

Before the Panel is a motion by defendant Mid America Restaurant
Associates to centralize the four actions listed on the attached
Schedule A in the Northern District of Illinois for coordinated or
consolidated pretrial proceedings under 28 U.S.C. §1407. Burger King
Corp., the plaintiff in the four actions and the only other party in
this docket, acquiesces in, fhe Section 1407 transfer motion. On the
basis of the papers filed,—’ the Panel finds that these four actions
involve common questions of fact, and that centralization of these
actions in the Northern District of Illinois will serve the
convenience of the parties and witnesses and will promote the just and
efficient conduct of this litigation.

IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. §1407, the
‘yctions listed on the attached Schedule A and pending in districts
Jther than the Northern District of Illinois be, and the same hereby
are, transferred to the Northern District of Illinois and, with the
| consent of that court, assigned to the Honorable John A. Nordberg for
1 coordinated or consolidated pretrial proceedings with the action
: pending in that district and listed on Schedule A.

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FOR THE PANEL:

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Cdr CL. Caf Pru

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Andrew A. Caffrey é

Chairman

% Judge Louis H. Pollak took no part in the decision of this matter.

i/ The parties waived oral argument and accordingly the question of
_transfer of these actions was submitted on the briefs. Rule 17,
R.P.J.P.M.L., 120 F.R.D. 251, 262 (1988).

 

 
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@ Schedule A

MDL-810 --_In re Burger King Corp./Mid America Restaurant Associates
Contract Litigation

 

Southern District of Florida

Burger King Corp. v. Mid America Restaurant Associates,
C.A. No. 89-0943-CIV

Southern District of Mississippi

Burger King Corp. v. Mid America Restaurant Associates,
C.A. No. S-89-0326(G)

Eastern District of Virginia

Burger King Corp. v. Mid America Restaurant Associates,
C.A. No. 89-678-A

Northern District of Illinois

Burger King Corp. v. Mid America Restaurant Associates,
C.A. No. 89-C-3711

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DOCKET NO. 810 OrERK OF THE PANEL

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

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IN RE BURGER KING CORP./MID AMERICA RESTAURANT ASSOCIATES CONTRACT
LITIGATION - .

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Burger “King Corp. v. Mid America Restaurant Associates,
E.D. Virginia, CcA. No. 59-678-A _

ORDER PARTIALLY VACATING TRANSFER ORDER

On August 10, 1989, the Panel entered an order under 28 U.S.C.
§1407 centralizing this litigation, including the above-captioned
action, in the Northern District of Tllinois for centralized pretrial
proceedings. On June 14, 1989, however, the Virginia court dismissed
the above-captioned action without prejudice, pursuant to a
Stipulation by the parties. Thus at the time of entry of the Panel'ts

order, the question of Section 1407 transfer with respect to the
above-captioned action was moot. oo.

~~... IT IS THEREFORE ORDERED that the Panel's August 10, 1989, order of

jtransfer entered in this docket be, and the same hereby is, VACATED,
© fIinsofar as it pertains to the above-captioned action.

FOR THE PANEL:

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Andrew A. Catfrey /
Chairman

 
